                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:13-cr-00293-MOC-DCK

UNITED STATES OF AMERICA,                    )
                                             )
                                             )
                                             )
Vs.                                          )                      ORDER
                                             )
JASON HILL,                                  )
                                             )
                Defendant.                   )



       THIS MATTER is before the court on defendant’s Motion to Join in Motions of Co-

Defendants. Having considered defendant’s motion and reviewed the pleadings, the court enters

the following Order.

                                        ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Join in Motions of Co-

Defendants (#59) is GRANTED.



            Signed: June 9, 2014




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